
VAN BRUNT, P. J.
-I dissent from the opinion of Mr. Justice WILLIAMS, I do not think there was any power in the court to amend the decree entered by another judge in a substantial particular. It might have been proper practice to have applied at the foot of the decree for a further and different direction, but there was no power in the court to amend the decree. I further dissent upon the ground that the application was entirely unnecessary. If the defendant in this action desired that this property should be conveyed to some other person after it had been conveyed to her by the receiver, she might have made the conveyance herself. It was, therefore, entirely unnecessary that the court should be called upon to examine this application for the purpose of determining as to whether it was proper upon this record to make the order in question. The order should be affirmed.
